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                              Exhibit 16
       Case
12/28/23, 5:03 PM2:23-cv-00576-JRG-RSP                     Document 26-25 Business
                                                                            FiledFiling
                                                                                    01/29/24
                                                                                        Details Page 2 of 3 PageID #: 1365




 Business Record Details »

Minnesota Business Name
Rykodisc, Inc.


Business Type                                                                         MN Statute
 Business Corporation (Domestic)                                                       302A

File Number                                                                           Home Jurisdiction
  4X-713                                                                               Minnesota

Filing Date                                                                           Status
  04/26/1985                                                                           Active / In Good Standing

Renewal Due Date                                                                      Registered Office Address
 12/31/2024                                                                            1010 Dale St N
                                                                                       St Paul, MN 55117–5603
                                                                                       USA

Number of Shares                                                                      Registered Agent(s)
 100,000                                                                               CT Corporation System Inc

Chief Executive Officer                                                               Principal Executive Office Address
 Mark Pinkus                                                                           777 South Santa Fe Ave
 777 South Santa Fe Ave                                                                Los Angeles, CA 90021
 Los Angeles, CA 90021                                                                 USA
 USA



      Filing History


   Filing History

   Select the item(s) you would like to order: Order Selected Copies

                  Filing Date               Filing                                                                        Effective Date

                  04/26/1985                Original Filing - Business Corporation (Domestic)

                  04/26/1985                Business Corporation (Domestic) Business Name
                                            (Business Name: Rykodisc, Inc.)




https://mblsportal.sos.state.mn.us/Business/SearchDetails?filingGuid=7d90b399-abd4-e011-a886-001ec94ffe7f#orderselected                    1/2
       Case
12/28/23, 5:03 PM2:23-cv-00576-JRG-RSP                     Document 26-25 Business
                                                                            FiledFiling
                                                                                    01/29/24
                                                                                        Details Page 3 of 3 PageID #: 1366



                  Filing Date               Filing                                                                        Effective Date

                  02/24/1989                Registered Office and/or Agent - Business Corporation
                                            (Domestic)

                  09/12/1995                Registered Office and/or Agent - Business Corporation
                                            (Domestic)

                  07/29/1998                Registered Office and/or Agent - Business Corporation
                                            (Domestic)

                  07/06/2005                Global Registered Office and/or Agent - Business
                                            Corporation (Domestic)

                  08/30/2007                Global Registered Office and/or Agent - Business
                                            Corporation (Domestic)

                  01/09/2008                Administrative Dissolution - Business Corporation
                                            (Domestic)

                  07/08/2008                Annual Reinstatement - Business Corporation (Domestic)

                  03/05/2009                Registered Office and/or Agent - Business Corporation
                                            (Domestic)

                  5/23/2013                 Merger Survivor - Business Corporation (Domestic)

                  5/23/2013                 Merger Survivor - Business Corporation (Domestic)

                  9/16/2016                 Registered Office and/or Agent - Business Corporation
                                            (Domestic)




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